                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:05cr281-MU



UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )                         ORDER
                                          )
ELTON RODRIGUEZ                           )
__________________________________________)


         This matter is before the court upon its own motion. The court notes that with reference
to this defendant, the superseding bill of indictment contains a “Notice of Special Findings” with
reference to Counts Two and Three. Since this case is not one in which the government is
seeking the death penalty, it appears to the court that such special findings are now unnecessary.
The parties are directed to advise the court within 3 days as to their views with regard to the
necessity of including these special findings in the trial of this matter.
         IT IS SO ORDERED.

                                                Signed: May 22, 2006




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